187 F.2d 334
    Selma KANTZ, Administratrix of the Estate of Manny Dyskantand Marian Dyskant, and Herbert Dyskant andTheodore Dyskant, Plaintiffs-Appellants,v.FUGATE &amp; GIRTON DRIVEWAY CO., Inc., Defendant-Appellee.
    No. 11236.
    United States Court of Appeals Sixth Circuit.
    Feb. 8, 1951.
    
      Jacob Rassner, New York City, David A. Christopher, Cleveland, Ohio, Jack Steinman, New York City, for appellants.
      Pickrel, Schaeffer &amp; Ebeling, Dayton, Ohio, William H. Selva, Dayton, Ohio, for appellee.
      Before SIMONS, MARTIN, and McALLISTER, Circuit Judges.
      PER CURIAM.
    
    
      1
      The above cause coming on to be heard upon the transcript of the record, the briefs of the parties, and the arguments of counsel, and after consideration of the contention of the appellants that the District Court erred in directing the jury to return a verdict for the defendant, and it appearing that there was no error in the direction of the verdict or in the judgment entered, after due consideration.
    
    
      2
      It is ordered, adjudged, and decreed that the judgment of the District Court be and is hereby affirmed.
    
    